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UNITED STATES DISTRICT COURT
Eastern District Of Michigan

 

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
§
V. §
§ Case Number: 0645 2:15CR20336 (1)
Deral Dewayne Dorsey § USM Number: 51129-039
§ Andrew Densemo
§ Defendant’s Attomey
THE DEFENDANT:
XI | pleaded guilty to count(s) 1 of the Indictment

 

oO pleaded guilty to count(s) before a U.S. Magistrate
Judge, which was accepted by the court.

 

oO pleaded nolo contendere to count(s) which was
accepted by the court

 

 

 

 

oO was found guilty on count(s) after a plea of not
guilty

 

The defendant is adjudicated guilty of these offenses:

Title & Section / Nature of Offense Offense Ended Count
18 U.S.C. § 922(g)(1) Felon in Possession of a Firearm 12/04/2014 1

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

(The defendant has been found not guilty on count(s)
C] Count(s) «dismissed_counts» 1] is J are dismissed on the motion of the United States

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances,

09/20/2016

Date of Imposition of Judgment

s/Robert H.Cleland
Signature of Judge .

United States District Judge
Title of Judge

10/04/2016 __

Date

 
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DEFENDANT: Deral Dewayne Dorsey
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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:

57 months.

&] The court makes the following recommendations to the Bureau of Prisons:
The defendant participate in the Residential Drug Abuse Program (RDAP)

(1 The defendant is remanded to the custody of the United States Marshal.
(J The defendant shall surrender to the United States Marshal for this district:

OO at O am. O pm. on

(1 asnotified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C] before 2 p.m. on
{J as notified by the United States Marshal.
(] as notified by the Probation or Pretrial Services Office.

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

UNITED STATES MARSHAL

By
DEPUTY UNITED STATES MARSHAL
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DEFENDANT: Deral Dewayne Dorsey
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SUPERVISED RELEASE

_ Upon release from imprisonment, the defendant shall be on supervised release for a term of : 3 years,

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

(1_ The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)

OW &

O

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8. _ the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11. the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13. as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
compliance with such notification requirement.

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SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall participate in a program approved by the probation
department for substance abuse, which may include testing to determine if the
defendant has reverted to the use of drugs or alcohol, if necessary.

2. The defendant shall participate in a program approved by the probation
department for mental health counseling, if necessary.

3. The defendant shall take all medications as prescribed by a physician whose care
he is under, including a psychiatrist, in the dosages and at the times proposed. If
the defendant is prescribed a medication, he shall take it, and the defendant shall
not discontinue medications against medical advice.

4. The defendant shall enroll and participate in a Cognitive Behavior Therapy
(CBT) program as approved by the probation officer, if necessary.
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

 

 

 

 

Assessment Fine Restitution
TOTALS 100.00 None Not applicable
(_ The determination of restitution is deferred until An Amended Judgment in a Criminal Case (AO245C) will be entered

after such determination.
(_ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution amount ordered pursuant to plea agreement $

00

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(1 _ the interest requirement is waived for the CO sfine C _srestitution

[the interest requirement for the Ct sfine (J _srestitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

The Court waives the imposition of a fine, the costs of incarceration and the costs of
supervision, due to the defendant’s lack of financial resources.

 
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DEFENDANT: Deral Dewayne Dorsey
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SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A §& Lump sum payments of $ 100.00 due immediately, balance due

(not later than , or
(]_ in accordance fT 3s, Oo OD, O £E,or C)  ‘F below; or
B [J _ Payment to begin immediately (may be combined with re ee (] OD,or []  F below); or
C [Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D [] Paymentinequal  (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment
to a term of supervision; or
E  [ Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
time; or

F Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

Joint and Several

See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate.

(] Defendant shall receive credit on restitution obligation for recovery from other defendants who contributed to the same loss that
gave rise to defendant's restitution obligation.

The defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):
The defendant shall forfeit the defendant’s interest in the following property to the United States:

OOO

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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ADDITIONAL FORFEITED PROPERTY

Pursuant to Fed. R. Crim. P. 32.2, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), defendant shall forfeit to
the United States of America:

a. One Jimenez Arms Pistol, Caliber .22, Serial Number: 1185725,
b. One Raven Arms P25 Pistol, Caliber .25, Serial Number: 217101,
c. Seven Rounds of Caliber .25 Remington Ammunition, and

d. Eight Rounds of Caliber .22 Remington Ammunition,

The Preliminary Order of Forfeiture entered by the Court on May 9, 2016 (Doc. # 30) is incorporated
herein by this reference.
